 4:13-cr-03003-JMG-CRZ           Doc # 23   Filed: 07/31/13   Page 1 of 1 - Page ID # 38




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                    Plaintiff,                                 4:13CR3003
      vs.
                                                     MEMORANDUM AND ORDER
IRMA CRISPIN-GOMEZ,
                    Defendant.


      Defendant has moved to continue the pretrial motion deadline, (filing no. 22),
because defense counsel needs additional time to fully review the discovery received
before deciding if pretrial motions should be filed. The motion to continue is unopposed.
Based on the showing set forth in the motion, the court finds the motion should be
granted. Accordingly,

      IT IS ORDERED:

      1)     Defendant’s motion to continue, (filing no. 22), is granted.

      2)     Pretrial motions and briefs shall be filed on or before August 16, 2013.

      3)     Trial of this case remains scheduled to commence on August 27, 2013.

      4)     The ends of justice served by granting the motion to continue outweigh the
             interests of the public and the defendant in a speedy trial, and the additional
             time arising as a result of the granting of the motion, the time between
             today’s date and August 16, 2013, shall be deemed excludable time in any
             computation of time under the requirements of the Speedy Trial Act,
             because despite counsel’s due diligence, additional time is needed to
             adequately prepare this case for trial and failing to grant additional time
             might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).

      July 31, 2013.
                                                 BY THE COURT:
                                                 s/ Cheryl R. Zwart
                                                 United States Magistrate Judge
